
720 S.E.2d 646 (2012)
290 Ga. 367
In the Matter of Joseph A. MACCIONE.
No. S12Y0103.
Supreme Court of Georgia.
January 9, 2012.
Paula J. Frederick, General Counsel State Bar, A.M. Christina Petrig, Asst. Gen. Counsel State Bar, for State Bar of Georgia.
James Eliotte Patterson, Macon, Anthony B. Askew, Chair, Review Panel, Atlanta, for other party.
PER CURIAM.
This Court previously rejected a petition for voluntary discipline filed by Joseph A. Maccione (State Bar No. 462925). See In the Matter of Maccione, 289 Ga. 17, 710 S.E.2d 745 (2011). Following the issuance of the Court's opinion, Maccione filed a second petition for voluntary discipline, admitting the same conduct and violations but also admitting the existence of a medical impairment and seeking to voluntarily surrender his license.
The State Bar expressed no objection to the petition, and the special master, James E. Patterson, recommended acceptance of it. Because Maccione has admitted serious misconduct in violation of Rules 5.3 and 8.4(a)(4) of the Georgia Rules of Professional Conduct *647 found in Bar Rule 4-102(d), see Maccione, 289 Ga. at 18-19, 710 S.E.2d 745, we accept the special master's recommendation and Maccione's voluntary surrender of his license, which is tantamount to disbarment. See Bar Rule 4-110(f).
Accordingly, it is hereby ordered that the name of Joseph A. Maccione be removed from the rolls of persons authorized to practice law in the State of Georgia. Maccione is reminded of his duties pursuant to Bar Rule 4-219(c).
Voluntary surrender of license accepted.
All the Justices concur.
